 8:04-cr-00045-JFB-FG3            Doc # 94   Filed: 07/08/05   Page 1 of 1 - Page ID # 297




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            Case No. 8:04CR45
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )                   ORDER
                                             )
DAINA M. SCHILLING,                          )
                                             )
                     Defendant.              )


       The government has filed a motion for hearing pursuant to Federal Rule of Criminal
Procedure 35(b). Filing No. 93.
       IT IS ORDERED that:
       1.   Counsel for the government shall notify the court when the motion pursuant to
Rule 35(b) is ripe for decision. The motion shall not be decided until counsel for the
government certifies that the motion is ripe.
       2.   Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b)
motion. If retained, counsel for the defendant remains as counsel for the defendant until
the Rule 35(b) motion is resolved or until given leave to withdraw.
       3. The Federal Public Defender shall provide CJA counsel with a new voucher.
       4. The Clerk of the Court shall electronically serve a copy of this order to counsel for
the government, counsel for the defendant, and the Federal Public Defender.
       DATED this 8th day of July, 2005.
                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
